
ORIGINAL APPLICATION FOR HABEAS CORPUS
PER CURIAM.
The relator, Ashworth, seeks to invoke the supervisory jurisdiction of this court, requesting that a writ of habeas corpus be issued and relief be granted in matters arising out of his detention under criminal charges in the Calcasieu Parish jail.
Article 7, Sections 10 and 29, of the Louisiana Constitution of 1921 grants appellate jurisdiction to the Supreme Court of Louisiana in matters arising out of criminal confinement. A Louisiana court of appeal has neither appellate nor supervisory jurisdiction over matters arising out of commitment because of criminal proceedings. State ex rel. Jackson v. Sheriff of Caddo Parish, 236 So.2d 93 (La.App. 3d Cir. 1970); State ex rel. Billodeaux v. Sheriff of Calcasieu Parish, 224 So.2d 541 (La.App. 3d Cir. 1969); State ex rel. Simien v. Sheriff of Calcasieu Parish, 186 So.2d 669 (La.App. 3d Cir. 1966); State ex rel. Jones v. Sheriff of Calcasieu Parish, 185 So.2d 80 (La.App. 3d Cir. 1966).
The relator’s application is therefore denied.
Writ denied.
